USDC IN/ND case 2:15-cr-00072-PPS-APR               document 1039        filed 09/26/17     page 1 of 2


                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF INDIANA
                                     HAMMOND DIVISION


   UNITED STATES OF AMERICA,                        )
                                                    )
                   Plaintiff,                       )
                                                    )
          v.                                        )     NO. 2:15CR72- PPS/APR
                                                    )
   ANTON LAMONT JAMES, JR.,                         )
                                                    )
                   Defendant.                       )


                                               ORDER


          No objections have been timely filed to the report and recommendation of United States

  Magistrate Judge Andrew P. Rodovich concerning defendant Anton Lamont James Jr.’s plea of

  guilty. Without objection, then, I adopt Judge Rodovich’s findings that defendant understands

  the matters enumerated in Fed.R.Crim.P. 11(b)(1), that defendant is competent to enter a plea of

  guilty, that defendant voluntarily wishes to plead guilty to the charge against him, and that there

  exists a factual basis for the plea.

          ACCORDINGLY:

          Judge Rodovich’s Findings and Recommendation [DE1009] are ACCEPTED AND

  ADOPTED.

          Defendant Anton Lamont James Jr.’s plea of guilty to Count 1 of the Third Superseding

  Indictment, a charge of Conspiracy to Participate in Racketeering Activity, in violation of 18

  U.S.C. §1962(d), is ACCEPTED, and he is adjudged guilty of that offense.

          The sentencing of Anton Lamont James Jr. is set for January 25, 2018 at 10:00 a.m.

  Hammond/Central time.
USDC IN/ND case 2:15-cr-00072-PPS-APR    document 1039   filed 09/26/17   page 2 of 2


        SO ORDERED.

        ENTERED: September 26, 2017.

                                       /s/ Philip P. Simon
                                       PHILIP P. SIMON, JUDGE
                                       UNITED STATES DISTRICT COURT




                                         2
